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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                      ENTERED
                                                                                              03/27/2018
                               HOUSTON DIVISION

IN RE:                        §
NORTHSTAR OFFSHORE GROUP, LLC §                         CASE NO: 16-34028
       Debtor(s)              §
                              §                         CHAPTER 11

                                ORDER SETTING HEARING

       An evidentiary hearing will be conducted at 1:30 p.m. on April 11, 2018, in Courtroom
404, 4th Floor, 515 Rusk Avenue, Houston, Texas, to consider Diamond McCarthy’s
Application for Compensation (Doc. #1116), DLA Piper’s Application for Compensation (Doc.
#1118), FTI Consulting, Inc.’s Application for Compensation (Doc. #1119), and MI Energy
Capital Management’s Application for Compensation (Doc. #1123). The Court will consider
evidence and arguments, as appropriate. The movant shall immediately serve a copy of this
notice on all parties entitled to notice of the hearing and file a certificate of service with the
Court.

       SIGNED March 27, 2018.


                                                 ___________________________________
                                                             Marvin Isgur
                                                 UNITED STATES BANKRUPTCY JUDGE




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